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3/20/2018 9:53 AM

Fiflh Judic'lal Dislricl, Lincoln Counly
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Attomeys for Plaintiff

IN THE DISTRIC'I` COURT OF THE FIFTH JUDICIAL DISTRICT OF THE

STATE OF IDAHO, IN AND FORTHE COUNTY OF L]NCOLN

$ * * >l= *
SCOTT DBNNmG, ) case rlon
)
Plaintiff, ) COMPLA|NT AND DEMAND
) FOR JURY TRIAL
v. )
) Fee Category: A
LINCOLN COUNTY SHERIFF’S OFFICE, )
a Public Entity, LINCGLN COUNTY, a ) Fee: $221.00
Public Corporation, )
)
Defendants.

**>l¢>l¢*

COMES NOW, the Plaintiff, Scott Denning, by and through his counsel ofrecord, Hepworth
Law Offices, for a cause of action against the Defendant, hereby states and alleges as follows:
I.

PARTIES. JURISDICTION, AND VENUE

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EXH|B|T

/

 

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l. The Plaintifi`, Scott Denning (hereinafter referred to as “Denning”) is a residenth
Dietrich, Lincoln County, State of Idaho.

2. Defendant, Lincoln County is a public corporation pursuant to I.C. § 31-601 and is
therefore liable for the Wrongful action of its officers and agents acting under their authority for
Lincoln County.

3. Lincoln County SheriH’s Oftice, is a governmental sub-entity formed in Lincoln
County, Idaho that is also responsible and liable for the wrongful actions of its officers and agents
acting under their authority. This Defendant shall hereinafter be referred to as the “LCSO.”

4. Rene Rodriguez, is an officer of LCSO pursuant to I.C. § 31-2001(1). SheriffRene
Rodriguez shall hereinafter be referred to as the “Sheriff."

5. T his Court has jurisdiction and venue in Lincoln County pursuant to I.C. § 6-2105(3).

II.
GENERAL ALLEGATIONS

6. Sergeant Denning was employed by Defendants from approximately January 2015
until he was wrongfully terminated on Decernber 29, 2017.

7. Sergeant Denning was hired by LCSO as shift supervisor and was promoted to
Sergeant. Denning temporarily served as an interim Chief Deputy, before returning to his position as
Sergeant until he was fired on December 29, 201 7.

8. Defendants hired Sergeant Denning and paid him $18.58 an hour at the time of his
liring. Sergeant Denning was not paid overtime for hours he worked more than 40 hours a week.

9. On approximately October 3 l , 2017, Sergeant Denning received a call from dispatch

just as he was clocking off for the evening after working a charity event after his regular hours.

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Dispatch informed Sergeant Denning that Lincoln County Sheriff Rene Rodriguez had requested
emergency relief after pursuing a potential criminal incident and may be in an altercation with as
many as 20 other individuals

lO. 'l`he incident arose during a time in which Sergeant Denning had personal concerns
about Sheriff Rodriguez’s fitness for duty in the wake of a messy divorce, potential alcohol abuse,
and several public relations incidents in recent months.

ll. Upon arriving at the scene, Sergeant Denning found Sheriff Rodriguez in plain
clothes, and SheriffRodriguez appeared to have arrived on the scene in an unmarked county vehicle
SheriffRodriguez was accompanied by his civilian girlniend, and approximately 6-8 members of the
community, presumably residents of the area, were also on the scene.

12. Sheriff Rodriguez recounted the incident to Sergeant Denning. Sheriff Rodriguez
stated that the incident had begun while SheriffRodriguez was celebrating Halloween at the horne of
his girlfriend’s family. Sheriff Rodriguez. told Sergeant Denning that he had heard screeching tires
and his girlfriend's children reportedly claimed they were almost hit by a vehicle outside their horne.
SheriffRodriguez initiated a search for the alleged vehicle, although he had not personally witnessed
the incident and claimed to have been “following the sound of tires.” SheriffRodriguez stated that
for an unknown reason he believed that a person known to the Lincoln County Sheriff`s Oftice
believed to be named Gene Schnml< may have been involved Sherifl` Rodriguez thereafter
confronted Mr. Schrunk at his home.

13. According to Sheriff Rodriguez, Mr. Schrunk answered the door and Sheriff
Rodriguez asked him to come outside the home and talk to him on the basis that SheriffRodriguez

claimed he could smell alcohol on Mr. Schrunk. Mr. Schrunk declined to leave his home, at which

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point SheriffRodriguez stated he intended to throw Mr. Sohrunk injail. Sherifl`Rodriguez stated that
he entered the home, and physically dragged Mr. Schrunl< out of the house. The two began aphysical
altercation lt was at that point that Sheri£f Rodriguez’s girlfriend called 9»1-1. After the incident,
Sheriff Rodriguez convinced another ofticer, Deputy “Bobby” Wade, to book Mr. Schrunk for
delaying and obstructing a law enforcement officer. Based upon Rodriguez’s recital of the events,
Sergeant Denning advised SheriffRodriguez that he was not sure whether there were proper grounds
for Mr. Schrunl<’s arrest at that time. Sheriff Rodriguez persisted

l4. Within twenty-four hours of the incident, Sergeant Denning approached LCSO Chief
Deputy Steve Phillips aboutthe incident Sergeant Denning advised the ChiefDeputy that at the very
least, the incident would lead to a waste of public funds because SheriffRodriguez’s conduct would
open the county up for liability, and that Sheriff Rodriguez’s conduct was dangerous and
unprofessional. Sergeant Denning also noted that Sheriff’s Rodriguez violated office policies and
regulations by having his girlfriend participate in the incident, and that her presence at the scene may
have caused complications as well. Chief Deputy Phillips said that he would talk to Sheriff
Rodriguez about the issue.

15. Within approximately one week, Chief Deputy Phillips called Sergeant Denning to
discuss the matter again. During the formal conversation, Sergeant Denning reiterated his concerns
that the decision to charge Mr. Schrunk was likely a “bad arrest” and that Sheriff Rodriguez’s
conduct would lead to federal Section 1983 claim against the Lincoln County Sheriff’s Department
for Constitutional violations Sergeant Denning noted that several civilians who had come to the
scene had also expressed interest in filing formal complaints with the Idaho State Police, as well as

the idaho Attorney General’s Offrce, and that an investigation needed to be conducted Rather than

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conduct iiirther investigation, ChiefDeputy Phillips and SheriffRodriguez chose to retaliate against
Denning.

16. Following that conversation, Sergeant Denning’s relationship with both Sheriff
Rodriguez, and Dcputy Phillips completely deteriorated, and the Lincoln County Sherist Oftice
began a campaign of false accusations and harassment against Sergeant Denning.

17. On December 4, 2017, Sergeant Denning was called in on his day off to come into the
office with his county patrol unit. Sherit`r" Rodriguez personally served Sergeant Denning with a
Letter of Suspension and stated that Sergeant Denning was being investigated for allegations of
“flrearms and evidence issues” that had arisen between October 26, 2017, and Novernber 15, 2017.

18. After Sergeant Denning was suspended, the Lineoln County Sherist Oftice began
expanding its investigation into as many as six allegations of misconduct, dating back to at least
October 2016.

19. Without waming, and before the investigation team released its tindings, Sergeant
Denning was summarily terminated on Decernber 29, 2017. 'l`he termination letter stated that “Upon
reviewing the needs of the Lineoln County Sherit`t’s Oi"fice, I have reached the conclusion that your
services are no longer required” and Was signed by Sheriff Rodriguez.

20. LCSO has also sought to have Denning decertified from his POST training, which
would preclude Denning from continuing his years of service as a law enforcement ofticer. The
POST decertification process has negatively impacted Denning’s ability to mitigate his damages by
pursuing substantially similar employment with other law enforcement agencies in the State ofldaho.

21 . LCSO’s conduct has further caused Sergeant Denning emotional and psychological

damages by denying him future economic advantages, and denying him the pleasure, enjoyment, and

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comfort of serving in law enforcement, a career that has largely defined him for the duration of his
adult life.
III.
COUNT ONE: \/'IOLATION OF I.C. § 6~2101 et seq. (“IPPIE’_’_)_

22. Plaintift` realleges and incorporates by reference all paragraphs set forth above.

23. Sergeant Denning was employed by Lincoln County and the Lincoln County Sheriffs
O£t`ice since January 2015 supervised by Lincoln County Sheriff, Rene Rodriguez.

24. On or about November l, 2017, Sergeant Denning participated in a “protected
aetivity” under I.C. §6-2101 et seq. when he communicated in good faith the existence of a waste of
public funds, property or manpower, or a violation or suspected violation of a law, rule or regulation
adopted under the law of this state, a political subdivision of this state or the United States regarding
Sheriff Rodriguez’s conduct to Chief Deputy Steve Phillips. Such communication was made at a
time and in a manner that gave the Lincoln County Sheriff’ s Ofiice reasonable opportunity to correct
the waste or violation

25. Sergeant Denning again communicated the vvaste of public funds or suspected
violations of law, rule and regulation when Sergeant Denning reiterated his concerns to Deputy
Phillips approximately one week later.

26. On or about December 4, 2017, Sergeant Denning was instructed to report to the
Jerome County Shcriff's Office on December 8, 2017, at 10:00 a.m. for an interview in connection
with an internal investigation being conducted by the Lincoln County sheriffs Office relating to
allegations of firearms and evidence issues which occurred on or about October 26, 2017 and

November 15, 2017. Sergeant Denning alleges the investigation was commenced with malicious

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intent related to his participation in the protected activity, and that such conduct amounted to an
“adverse action” under I.C. §6-2101 et seq.

25. On Decernber 29, 2017, Sergeant Denning was issued a termination letter.
Terrnination is an adverse action pursuant to the Idaho Protection for Publio Employees Act
([PPEA).

26. The adverse actions taken by Defendants against SergeantDenning were because of
his participation in protected activities related to the waste of public funds and suspected violations
of law, rule, or regulation The adverse actions amount to acts of retaliation under the IPPEA.

27. 'As a result of the wrongful termination of Sergeant Denning in violation ofI.C. § 6-
2104, Sergeant Denning is entitled to damages including but not limited to:

(a) Reinstatement to his position or an equivalent position as a full-time employee and
reinstatement ot` full fringe benefits and seniority rights;

(b) The recovery of attorney fees and court costs incurred in this action as allowed by I.C.
§ 6-2106(5);

(c) Compensatory damages for past and future lost wages and benefits that Denning
otherwise would have been entitled to as a full~time employee with Lincoln County SherifPs
Deparnnent until his retirement at age 70;

(d) The assessment of a civil fine of not more than $500,00 to be submitted to the State
Treasurer.

28. As a result ofDet`endant’s unlawful conduct toward Sergeant Denning in violation of

I.C. § 6~2106(5), Sergeant Denning is entitled to wages, benet`lts, emotional distress, punitive

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damages, interest (both pre and post-judgment), attorney fees, costs associated with this action, and
any other and further relief this Court deems appropriate
IV.
PRAYER FOR RELIEF

WHEREFGRE, Denning requests judgment against the Defendant as follows:

1. For past and future lost wages and benefits in an amount to be determined at trial by
jury in an amount exceeding 375,000.00.

2. For compensatory and consequential damages to be determined at trial;

3 . Por reinstatement to a hill-time position at the rate of pay not less than his previous
hourly rate plus benefits and job protection or front pay in lieu ofreinstatement;

4. For reinstatement of full fringe benefits and seniority rights;

4. F or an award for emotional distress damages, punitive and/or liquidated damages in
an amount to be determined at trial;

5. For an award of interest (both pre- and post-judgment) at the highest lawful rate;

6. For an award of court costs, including expert witness fees as appropriate, and attorney
fees in an amount to be determined at the rate of $400.00 per hour;

7. For such other legal or equitable damages as this Court deems just and appropriate

DATED this 20th day of March, 2018.

I-IEPWORTH LAW OFFICE

By__!»l€{aét€¢.¢ W@.é“wé

leffrey J. Hepworth
Attorneys for Plaintiff

 

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